        Case 2:14-cr-00097-DC Document 95 Filed 02/26/15 Page 1 of 5


 1   LAW OFFICES OF SCOTT L. TEDMON
     A Professional Corporation
 2
     SCOTT L. TEDMON, CA. BAR # 96171
 3   980 Ninth Street, 16th Floor
     Sacramento, California 95814
 4   Telephone: (916) 449-9985
     Facsimile: (916) 446-7104
 5

 6   Attorney for Defendant
     JOHNNY TORRES
 7

 8
                                    UNITED STATES DISTRICT COURT
 9
                             FOR THE EASTERN DISTRICT OF CALIFORNIA
10

11   UNITED STATES OF AMERICA,                            )
                                                          )       CASE NO. 2:14-CR-0097-MCE
12
                                Plaintiff,                )
13                                                        )       STIPULATION AND [PROPOSED]
                       vs.                                )       ORDER RE: MODIFICATION OF
14                                                        )       CONDITIONS OF RELEASE FOR
     JOHNNY TORRES, et al.,                               )       DEFENDANT JOHNNY TORRES
15
                                                          )
16                              Defendants.               )
                                                          )
17
              Plaintiff United States of America, by and through Assistant U.S. Attorney
18

19   Christiaan Highsmith, and defendant Johnny Torres, by and through counsel Scott

20   L. Tedmon, hereby stipulate that Second Amended Special Condition of Release #1
21
     be removed as a special condition of defendant Johnny Torres’ pretrial release; and
22
     stipulate that Second Amended Special Condition of Release #9 be amended.
23
              On August 6, 2014, defendant Torres as part of his second amended special
24

25   conditions of release was ordered released to the third party custody of Moises

26   Juarez. Specifically, the second amended special condition of release #1 states:
27
              1. You are released to the third party custody of Moises Juarez;
28
              Pretrial Services Officer Darryl Walker reports he is the supervising officer


     Stipulation & Order re: Modify Pretrial Conditions                        Case No. 2:14-CR-0097-MCE
                                                              1
        Case 2:14-cr-00097-DC Document 95 Filed 02/26/15 Page 2 of 5


 1   for Mr. Torres. Officer Walker states Mr. Torres is no longer in need of the second
 2
     amended special condition of release #1 and concurs in this stipulation.
 3
              On August 6, 2014, defendant Torres as part of his second amended special
 4
     conditions of release was ordered to refrain from any use of alcohol. Specifically,
 5

 6   the second amended special condition of release #9 states:

 7         9. You shall refrain from any use of alcohol or any use of a
     narcotic drug or other controlled substance without a prescription by
 8
     a licensed medical practitioner; and you shall notify Pretrial Services
 9   immediately of any prescribed medication(s). However, medicinal
     marijuana, prescribed or not, may not be used;
10
              Pretrial Services Officer Darryl Walker reports he is the supervising officer
11

12   for Mr. Torres. Officer Walker states Mr. Torres is no longer in need of the alcohol

13   restriction contained in second amended special condition of release #9 and concurs
14
     in this stipulation.
15
              Based on the foregoing, Pretrial Services Officer Darryl Walker, Assistant
16
     U.S. Attorney Christiaan Highsmith on behalf of the government, and Scott L.
17

18   Tedmon on behalf of defendant Johnny Torres jointly agree and stipulate to this

19   request for modification of the second amended special conditions of release for
20
     defendant Johnny Torres. Further, all parties confirm they have reviewed the
21
     attached Third Amended Special Conditions of Release and agree with all 12
22
     conditions contained therein.
23

24   IT IS SO STIPULATED.

25   DATED: February 25, 2015                             BENJAMIN B. WAGNER
                                                          UNITED STATES ATTORNEY
26

27                                                        /s/ Christiaan Highsmith
                                                          CHRISTIAAN HIGHSMITH
28                                                        Assistant United States Attorney



     Stipulation & Order re: Modify Pretrial Conditions                       Case No. 2:14-CR-0097-MCE
                                                          2
        Case 2:14-cr-00097-DC Document 95 Filed 02/26/15 Page 3 of 5


 1
     DATED: February 25, 2015                             LAW OFFICES OF SCOTT L. TEDMON
 2

 3                                                        /s/ Scott L. Tedmon
                                                          SCOTT L. TEDMON
 4                                                        Attorney for Defendant Johnny Torres
 5

 6
                                                      ORDER
 7

 8
              GOOD CAUSE APPEARING and based upon the above stipulation, IT IS
 9
     HEREBY ORDERED that:
10
              1.   The request for modification of the Second Amended Special Conditions
11

12                 of Release for defendant Johnny Torres is GRANTED.

13            2. The attached Third Amended Special Conditions of Release are adopted
14
                   by this Court and are ordered filed. The Third Amended Special
15
                   Conditions of Release supersede all previous conditions of release for
16
                   defendant Johnny Torres and are effective immediately.
17

18            3. A copy of this order, along with the Third Amended Special Conditions of

19                 Release is to be provided to defendant Johnny Torres. Pretrial Services
20
                   Officer Darryl Walker shall personally review this Order and Third
21
                   Amended Special Conditions of Release with defendant Johnny Torres,
22
                   and then secure Mr. Torres signature confirming Mr. Torres understands
23

24                 each condition, accepts each condition, and agrees to abide by each

25                 condition.
26
     IT IS SO ORDERED.
27
     DATED: February 26, 2015
28




     Stipulation & Order re: Modify Pretrial Conditions                      Case No. 2:14-CR-0097-MCE
                                                          3
        Case 2:14-cr-00097-DC Document 95 Filed 02/26/15 Page 4 of 5


 1                 THIRD AMENDED SPECIAL CONDITIONS OF RELEASE
 2

 3                                                            Re: Torres, Johnny
                                                              No. 2:14-CR-0097-MCE
 4                                                            Date: February 25, 2015
 5

 6            1.   You are to reside at a location approved by the pretrial services officer
                   and not move or absent yourself from this residence for more than 24
 7                 hours without the prior approval of the pretrial services officer;
 8
              2. You shall report and comply with the rules and regulations of the Pretrial
 9               Services Agency;

10
              3. You shall cooperate in the collection of a DNA sample;
11

12            4. Your travel is restricted to the Eastern District of California unless
                 otherwise approved in advance by the pretrial services officer;
13

14
              5. You shall not obtain a passport or other travel documents during the
15               pendency of this case;

16
              6. You shall not possess a firearm/ammunition, destructive device, or other
17               dangerous weapon; additionally, you shall provide written proof of
                 divestment of all forearms/ammunition currently under your control;
18

19
              7. You shall seek and/or maintain employment and provide proof of same as
20               requested by your pretrial services officer;

21
              8. You shall refrain from excessive use of alcohol or any use of a narcotic
22               drug or other controlled substance without a prescription by a licensed
                 medical practitioner; and you shall notify Pretrial Services immediately of
23
                 any prescribed medication(s). However, medicinal marijuana, prescribed
24               or not, may not be used;

25
              9. You shall submit to drug and/or alcohol testing as approved by the
26               pretrial services officer. You shall pay all or part of the costs of the testing
                 services based on your ability to pay, as determined by the pretrial
27
                 services officer;
28




     Stipulation & Order re: Modify Pretrial Conditions                    Case No. 2:14-CR-0097-MCE
                                                          4
        Case 2:14-cr-00097-DC Document 95 Filed 02/26/15 Page 5 of 5


 1            10. You shall participate in a program of medical or psychiatric treatment,
                  including treatment for drug or alcohol dependency, as approved by the
 2
                  pretrial services officer. You shall pay all or part of the costs of the
 3                counseling services based on your ability to pay, as determined by the
                  pretrial services officer;
 4
              11. You shall not associate or have any contact with co-defendants unless in
 5
                  the presence of counsel or otherwise approved in advance by the pretrial
 6                services officer;

 7
              12. You shall report any contact with law enforcement to your pretrial service
 8                officer within 24 hours.
 9

10

11

12

13

14

15

16

17

18

19

20

21

22

23

24

25

26

27

28




     Stipulation & Order re: Modify Pretrial Conditions              Case No. 2:14-CR-0097-MCE
                                                          5
